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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON DATA
  SERVICES, INC.,
              Plaintiffs,
        v.
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT                 CASE NO. 1:20-CV-484-RDA-TCB
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,
              Defendants.

  800 HOYT LLC,
              Intervening Interpleader
              Plaintiff, Intervening
              Interpleader Counter-
              Defendant,
        v.
  BRIAN WATSON; WDC HOLDINGS, LLC;
  BW HOLDINGS; LLC,
              Interpleader Defendants,
        and
  AMAZON.COM, INC., and AMAZON DATA
  SERVICES, INC.,
              Interpleader Defendants,
              Interpleader Counter-Plaintiffs.

               NOTICE OF HEARING ON PLAINTIFFS’ MOTION FOR
                 LEAVE TO FILE THIRD AMENDED COMPLAINT
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            PLEASE TAKE NOTICE that on April 15, 2022, at 10:00 a.m., or as soon thereafter as

  the matter may be heard, counsel for Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc.

  will present argument before this Court on their Motion for Leave to File Third Amended Com-

  plaint.



   Dated: April 1, 2022                             Respectfully submitted,

                                                    /s/ Michael R. Dziuban       .
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                Counsel for Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 2, 2022, I electronically filed the foregoing with the Clerk of

  Court using the CM/ECF system. I will then send the document and a notification of such filing

  (NEF) to the following parties via U.S. mail to their last-known address and by email, where noted:



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                                                s/ Michael R. Dziuban
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                                                Counsel for Plaintiffs Amazon.com, Inc. and Amazon
                                                Data Services, Inc.




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